                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 1 of 10


                                                                              1   GARY E. SCHNITZER, ESQ.
                                                                                  Nevada Bar No. 395
                                                                              2   L. RENEE GREEN, ESQ.
                                                                                  Nevada Bar No. 12755
                                                                              3   KRAVITZ SCHNITZER
                                                                                  JOHNSON & WATSON, CHTD.
                                                                              4   8985 So. Eastern Avenue, Suite 200
                                                                                  Las Vegas, Nevada 89123
                                                                              5   Telephone:     (702) 362-6666
                                                                                  Facsimile:     (702) 362-2203
                                                                              6   Attorneys for Defendant
                                                                                  HANKINS PLASTIC SURGERY
                                                                              7   ASSOCIATES, P.C. dba HANKINS & SOHN
                                                                                  PLASTIC SURGERY ASSOCIATES
                                                                              8

                                                                              9
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                                                            UNITED STATES DISTRICT COURT
                                                                             10
                                                                                                                    DISTRICT OF NEVADA
                                                                             11
                                                                                    JENNIFER TAUSINGA, on behalf of herself            Case No.:
                                                                             12     and all others similarly situated;
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13                                   Plaintiff,           DEFENDANT’S NOTICE OF
                                              Las Vegas, Nevada 89123




                                                                                                                                       REMOVAL
                                                  (702) 362-66666




                                                                             14     vs.

                                                                             15                                                        (Clark County District Court,
                                                                                    HANKINS & SOHN PLASTIC SURGERY                     Case No. A-23-868157-C)
                                                                                    ASSOCIATES, an unknown entity;
                                                                             16     HANKINS PLASTIC SURGERY
                                                                                    ASSOCIATES, P.C., a domestic professional
                                                                             17     corporation; DOES 1 through 20, inclusive
                                                                             18
                                                                                                               Defendants.
                                                                             19
                                                                             20
                                                                                  TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
                                                                             21
                                                                                  OF NEVADA, THE PLAINTIFF, AND HER ATTORNEYS OF RECORD:
                                                                             22
                                                                                          PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332(d), 1446, and 1453,
                                                                             23
                                                                                  Defendant, HANKINS PLASTIC SURGERY ASSOCIATES, P.C. dba HANKINS & SOHN
                                                                             24
                                                                                  PLASTIC SURGERY ASSOCIATES (wrongfully identified separately as “Hankins & Sohn
                                                                             25
                                                                                  Plastic Surgery Associates, an unknown entity”), hereby remove the state court action described
                                                                             26
                                                                                  below from the Eighth Judicial District Court, Clark County, Nevada, filed by JENNIFER
                                                                             27
                                                                                  TAUSINGA (“Plaintiff”), Case No. A-23-868157-C, Dept. 9 (hereinafter the “State Court
                                                                             28


                                                                                                                                1
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 2 of 10


                                                                              1   Action”) to the United States District Court for the District of Nevada, and submit the following

                                                                              2   statement of facts, which entitle this matter to removal:

                                                                              3                                    JURISDICTION AND VENUE

                                                                              4          1.      The Court has subject matter jurisdiction over this case pursuant to the Class Action

                                                                              5   Fairness Act of 2005, which is codified in part as 28 U.S.C. § 1332(d).

                                                                              6          2.      This Court is in the judicial district and division embracing the place the State Court

                                                                              7   Action was brought and was pending. Thus, this Court is the proper District Court to which this

                                                                              8   Court should be removed. 28 U.S.C. §§ 1441(a) and 1446(a). Moreover, this venue is proper as

                                                                              9   a substantial part of the alleged events or omissions giving rise to this lawsuit that occurred in the
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                             10   District of Nevada.

                                                                             11                           THE ACTION AND TIMELINESS OF REMOVAL

                                                                             12          3.      On March 30, 2023, Plaintiff, purportedly on behalf of herself and others similarly
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13   situated, filed a Class Action Complaint and Demand for Jury Trial (the “Complaint”) against
                                              Las Vegas, Nevada 89123
                                                  (702) 362-66666




                                                                             14   Defendants in the State Court Action. A true and correct copy of the Complaint is attached to this

                                                                             15   Notice of Removal as Exhibit A.

                                                                             16          4.       On April 25, 2023, Defendant’s counsel executed a Waiver of Service of Summons

                                                                             17   under Rule 4.1 from the Nevada Rules of Civil Procedure. A true and correct copy of the Waiver

                                                                             18   of Service is attached to this Notice of Removal as Exhibit B.

                                                                             19          5.      The removal is timely under 28 U.S.C. § 1446(b) because Defendant filed this
                                                                             20   removal within thirty (30) days of being served within the Complaint. See Murphy Bros. v.

                                                                             21   Michetti Pipe Stinging, Inc., 526 U.S. 344, 348 (1999)(time period for removal begins when the

                                                                             22   defendant is served).

                                                                             23                                        CAFA JURISDICTION

                                                                             24          6.      Basis of original jurisdiction: This Court has original jurisdiction over this action

                                                                             25   and under the Class Action Fairness Act of 2005 (“CAFA”)(codified in pertinent part at 28 U.S.C.

                                                                             26   § 1332(d)). Section 1332(d) provides that a district court shall have original jurisdiction over a
                                                                             27   class action with one hundred (100) or more putative class members from which the matter in

                                                                             28   controversy aggregately exceeds the sum or value of $5 million. Section 1332(d) further provides


                                                                                                                                    2
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 3 of 10


                                                                              1   that, for CAFA to apply, a putative class member must be a citizen of a state different from any

                                                                              2   defendant.

                                                                              3           7.       As set forth below, pursuant to 28 U.S.C. § 1441(a), defendants may remove the

                                                                              4   State Court Act to federal court under the Class Action Fairness Act of 2005 because: (1) this

                                                                              5   action is pled as a class action; (2) the putative class include more than one hundred (100)

                                                                              6   members; (3) some members of the putative class are citizens of the state different than that of

                                                                              7   defendants; and (4) the matter in controversy, in the aggregate, exceeds the sum or value of $5

                                                                              8   million, exclusive of interest and costs.

                                                                              9                             THE ACTION IS PLED AS A CLASS ACTION
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                             10           8.       CAFA defines a “class action” as “any civil action filed under Rule 23 of the

                                                                             11   Federal Rules of Civil Procedure or similar State statute or rule of judicial procedure authorizing

                                                                             12   an action to be brought by one or more of representative persons as a class action.” 28 U.S.C. §
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13   1332(d)(1)(B).
                                              Las Vegas, Nevada 89123
                                                  (702) 362-66666




                                                                             14           9.       Plaintiff seeks class certification under Rule 23 of the Nevada Rules of Civil

                                                                             15   Procedure. See Complaint at ¶¶ 3, 74, 75. The Supreme Court of Nevada has held that Rule 23 of

                                                                             16   the Nevada Rule of Civil Procedure is “identical to its federal counterpart.” Meyer v. Eighth

                                                                             17   Judicial Dist. Court, 885 P.2d 622, 626 (Nev. 1994). Thus, the first CAFA requirement is satisfied.

                                                                             18                 THE PUTATIVE CLASS INCLUDES AT LEAST 100 MEMBERS

                                                                             19           10.      Plaintiff seeks to represent a class of persons to be defined as follows: “All
                                                                             20   individuals in the United States whose PII1 and/or PHI2 was compromised in the Data Breach

                                                                             21   which was announced on or about March 14, 2023 (the “Class”).” See Complaint at ¶ 75.

                                                                             22   Specifically, Plaintiff TAUSINGA asserts that she “brings this class action individually and on

                                                                             23   behalf of individuals that have had their sensitive PII/PHI disclosed and obtained by unknown

                                                                             24   ///

                                                                             25
                                                                                  1
                                                                                   Plaintiff defines “PII” as personally identifiable information, “such as, inter alia, their first and last names,
                                                                             26   driver’s license numbers, home addresses, telephone numbers, email addresses, and dates of birth.”
                                                                                  Complaint at ¶ 1.
                                                                             27
                                                                                  2
                                                                                   Plaintiff defines “PHI” as personal health information, “such as, inter alia, their medical history, medical
                                                                             28   consultation notes and photographs.” Id. at ¶ 2.


                                                                                                                                          3
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 4 of 10


                                                                              1   third-parties as a result of Defendants’ failure to properly secure and safeguard the PII/PHI

                                                                              2   described above.” Id. at ¶ 3.

                                                                              3           11.     Plaintiff excluded from the Class are “Defendants, its subsidiaries and affiliates,

                                                                              4   officers and directors, any entity in which Defendants have a controlling interest, the legal

                                                                              5   representative, heirs, successors, or assigns of any such excluded party, the judicial officer(s) to

                                                                              6   whom this action is assigned, and the members of their immediate families.” Id. at ¶ 76.

                                                                              7           12.     Plaintiff further alleges that “there are at minimum, hundreds of members of the

                                                                              8   Class described above.” Id. at ¶ 78. Moreover, Dr. Hankins also attested that there are more than

                                                                              9   thousands of potential members of the putative Class. Therefore, based on Plaintiff’s own
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                             10   allegations, the number of putative Class members exceeds the statutorily required minimum of

                                                                             11   100.

                                                                             12                        MINIMAL DIVERSITY OF CITIZENSHIP EXISTS
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13           13.     Pursuant to 28 U.S.C. § 1332(d)(2)(A), “the district court shall have original
                                              Las Vegas, Nevada 89123
                                                  (702) 362-66666




                                                                             14   jurisdiction” over a “class which. . .any member of the class of plaintiff is a citizen of the state

                                                                             15   different from any defendant.” (emphasis added). See also Abreggo Abreggo v. The Dow

                                                                             16   Chemical Co., 443 F.3d 676, 680, n. 5 (9th Cir. 2006)(“[o]ne way to satisfy minimal diversity to

                                                                             17   by demonstrating that any member of a class of plaintiff is . . . a citizen or subject of a foreign state

                                                                             18   and any defendant is a citizen of a state”).

                                                                             19           14.     Hankins Plastic Surgery Associates, P.C. dba Hankins & Sohn Plastic Surgery
                                                                             20   Associates (“Hankins & Sohn Plastic Surgery Associates”) is a professional corporation organized

                                                                             21   and existing under the laws of the State of Nevada. Moreover, Hankins & Sohn Plastic Surgery

                                                                             22   Associates conducts business in Nevada.

                                                                             23           15.     Although Plaintiff alleges that she was and continues to be a Nevada resident, the

                                                                             24   Class from which Plaintiff seeks to assert a Class Action Status are “individuals in the United

                                                                             25   States whose PII and/or PHI was comprised in the Data Breach which occurred in or before March

                                                                             26   2023.” Complaint at ¶ 75. As some of the purported class members are not Nevada residents,
                                                                             27   diversity of citizenship is met. In sum, the diversity of citizenship in this matter exists due to

                                                                             28   ///


                                                                                                                                     4
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 5 of 10


                                                                              1   Plaintiff’s desire to represent all individuals in the United States who were allegedly affected by

                                                                              2   the Data Breach.

                                                                              3            16.    As established in ¶ 75 of Plaintiff’s Complaint, minimal diversity of citizenship is

                                                                              4   established pursuant to CAFA because not all of the purported Class members are Nevada

                                                                              5   residents. In fact, many of the purported Class members are Arizona and California residents.

                                                                              6            THE AMOUNT IN CONTROVERSY EXCEEDS THE CAFA THRESHOLD3

                                                                              7            17.    Where a complaint has not specified the amount of damages sought, as is the case

                                                                              8   with Plaintiff’s Complaint, the removing defendant must provide by the preponderance of evidence

                                                                              9   that the jurisdictional amount in controversy is satisfied. 28 U.S.C. § 1446(c)(2)(B). The United
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                             10   States Supreme Court held that “a defendant’s notice of removal need include only a plausible

                                                                             11   allegation that the amount in controversy exceeds the jurisdictional threshold” to meet the

                                                                             12   standard. Dart Cherokee Basin Oper. Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014).
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13            18.    Plaintiff requests the following relief, which aggregated across the putative Class
                                              Las Vegas, Nevada 89123
                                                  (702) 362-66666




                                                                             14   of thousands of individual places more than $5 million in controversy, exclusive of interest and

                                                                             15   costs.

                                                                             16            19.    Damages. Plaintiff alleges that she and the Class have and will continue to suffer

                                                                             17   injuries, including: (1) out of pocket expenses; (2) loss of time and productivity through efforts to

                                                                             18   ameliorate, mitigate, and deal with the future consequences of the Data Breach; (3) theft of their

                                                                             19   valuable PII and/or PHI; (4) the imminent and certainly impeding injury flowing from fraud and
                                                                             20   identity theft posed by their PII/PHI being disclosed to unauthorized recipients and cybercriminals;

                                                                             21   (5) damages to and diminution in value of their PII and/or PHI; (6) and continued risk to Plaintiff’s

                                                                             22   and the Class Members’ PII and/or PHI, which remains in the possession of Defendants and which

                                                                             23   is subject to further breaches[.]” Id. at ¶ 73.

                                                                             24   ///

                                                                             25

                                                                             26   3
                                                                                    The amount in controversy set forth in this Notice of Removal is solely for the purpose of establishing
                                                                                  that the amount in controversy exceeds the $5 million threshold. This section is not intended and cannot
                                                                             27   be construed as an admission that Plaintiff can state a claim or is entitled to damages in any amount.
                                                                                  Defendant denies liability, denies Plaintiff is entitled to recoup from Defendant any amount, and denies that
                                                                             28   the Class can be properly certified in this matter.


                                                                                                                                       5
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 6 of 10


                                                                              1           20.    Plaintiff has also alleged that she “and Class Members have incurred and will incur

                                                                              2   out of pocket costs for protective measures, such as identity theft protection, credit monitoring,

                                                                              3   credit report fees, credit freeze, and similar costs related to the Data Breach.” Id. at ¶ 69.

                                                                              4   Moreover, Plaintiff alleges that “[b]esides the monetary damage sustained in the event of identity

                                                                              5   theft, patients may have to spend hours trying to resolve identity theft issues.” Id. at ¶ 70. In this

                                                                              6   matter, Plaintiff has specifically alleged that one of her damages is out of pocket costs for

                                                                              7   “protective measures, such as identity theft protection” and credit monitoring. Id. at ¶ 69. Plaintiff

                                                                              8   has also affirmatively prayed for a “mandatory injunction directing Defendants to hereinafter

                                                                              9   adequately safeguard the PII and/or PHI of the Class by implementing improved security
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                             10   procedures and measures[.]” Complaint’s Prayer for Relief at ¶ 4.

                                                                             11           21.     Other than pleading the statutory minimum requirement in the State Court Action,

                                                                             12   Plaintiff does not allege the amount in compensatory damages that she and the Class allegedly
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13   sustained. See Complaint at ¶ 69, 73, 92, 117, 128, 141. However, one potential estimate of the
                                              Las Vegas, Nevada 89123
                                                  (702) 362-66666




                                                                             14   valuation is the attempt to mitigate the effects of the Data Breach due to Plaintiff’s contention of

                                                                             15   “a significantly increased and certainly impending risk of fraud, identity theft, and similar forms

                                                                             16   of criminal mischief, risk which may last for the rest of their lives.” Id. ¶ 8. Plaintiff has also

                                                                             17   alleged that she “and Class Members have incurred and will incur out of pocket costs for protective

                                                                             18   measures, such as identity theft protection, credit monitoring, credit report fees, credit freeze, and

                                                                             19   similar costs related to the Data Breach.” Id. at ¶ 69.
                                                                             20           22.    Although Plaintiff does not explicitly estimate the effects to mitigate the effects of

                                                                             21   the breach, Plaintiff has requested “a mandatory injunction directing Defendants to hereinafter

                                                                             22   adequately safeguard PII and/or PHI of the Class by implementing improved security procedures

                                                                             23   or measures.” Id. at Plaintiff’s Prayer for Relief, ¶ 4. Hence, this injunction and recovery sought

                                                                             24   includes the cost of credit monitoring services.

                                                                             25           23.    Three identity protection agencies, Equifax, Lifelock, and Experian, advertise

                                                                             26   monthly rates for credit monitoring services for all three credit bureaus and with identity theft
                                                                             27   ///

                                                                             28   ///


                                                                                                                                     6
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 7 of 10


                                                                              1   insurance ranging from $11.994 to $24.99 per month. Experian offers credit, social security, and

                                                                              2   bank/credit account monitoring services with identity theft protection for $24.99 per month for an

                                                                              3   individual and $34.99 per month per family. Multiplying the cost of providing two years of credit

                                                                              4   monitoring services at $24.99 by 10,000,5 which is the purported minimum amount of people

                                                                              5   whom Plaintiff designates as the Class, the amount in controversy for credit monitoring alone for

                                                                              6   two years is approximately $5,997,600.00.

                                                                              7            24.    Plaintiff also claims that she and her Class experienced “damages to and diminution

                                                                              8   of value of the PII and/or PHI”. Id. ¶ 73. These nebulous concepts are unquantified in the

                                                                              9   Complaint, and will further add to the damages in excess of CAFA’s jurisdictional threshold.
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                             10            25.    Plaintiff also alleges that she and her Class suffered “emotional distress” as a result

                                                                             11   of the Data Breach. Id. at ¶ 72. This nebulous concept is unquantified in the Complaint, but will

                                                                             12   further add the damages in excess of CAFA jurisdictional threshold.
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13            26.    Restitution.    Plaintiff’s Complaint purportedly seeks restitution. Complaint at ¶
                                              Las Vegas, Nevada 89123
                                                  (702) 362-66666




                                                                             14   79(d). However, the Complaint contains no allegations that would support, or even suggest, the

                                                                             15   amount in restitution to which she or any of the putative Class Members are entitled. Id. Hence,

                                                                             16   Defendant does not entirely include restitution in their calculation of the total amount in

                                                                             17   controversy.     Nevertheless, the amount in controversy further exceeds CAFA’s $5 million

                                                                             18   threshold when these alleged damages are combined with the Class and Plaintiff’s compensatory

                                                                             19   damages.
                                                                             20           27.     Attorneys’ Fees. Plaintiff also seeks to recover her attorney’s fees. Id. at ¶¶ 93,

                                                                             21   107, 118, 131, 142, 154. “[W]here an underlying statute authorizes an award of attorney’s fees,

                                                                             22   either with mandatory or discretionary language, such fees may be included in the amount of

                                                                             23   controversy.” Lauder Milk v. U.S. Bank Nat’l Assoc., 479 F.3d 994, 1004 (9th Cir. 2007)(internal

                                                                             24

                                                                             25   4
                                                                                   See https://www.equifax.com/personal/products/identity-theft-protection/ (last visited May 1, 2023);
                                                                                  LifeLock Official Site | Identity Theft Protection (norton.com) (last visited May 1, 2023);
                                                                             26   https://www.experian.com/consumer-products/compare-credit-report-and-score-
                                                                                  products.html#comparison-table (last visited May 2, 2023).
                                                                             27
                                                                                  5
                                                                                   Defendant uses this figure conservatively, as Defendant’s Declaration estimates the number of clients that
                                                                             28   might have been impacted by the Data Breach was 20,000.


                                                                                                                                      7
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 8 of 10


                                                                              1   citations omitted). The Court may consider reasonable estimates of attorney’s fees in analyzing

                                                                              2   disputes over the amount in controversy. See Brady v. Mercedes Benz, USA, Inc., 243 F. Supp. 2d

                                                                              3   1004, 1010-1011 (N.D. Cal. 2002). Here, statutory attorney’s fees are available under NRS

                                                                              4   41.600. Hence, attorneys’ fees should be included in analyzing the amount in controversy.

                                                                              5          28.     In the Ninth Circuit, twenty-five percent (25%) of the award has been used as a

                                                                              6   “benchmark” for attorney’s fees. Handlin v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998).

                                                                              7   Using this benchmark, attorney’s fees further increase the amount in controversy for alleged

                                                                              8   liability exposure above the jurisdictional minimum for removal.

                                                                              9          29.     Accordingly, Defendant sufficiently removed the State Court Action to this Court
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                             10   as (1) the State Court Action is pled as a Class Action and (2) the class size, (3) diversity, and (4)

                                                                             11   amount in controversy requirements of CAFA are satisfied.

                                                                             12          30.     This Notice is submitted without a waiver of any procedural or substantive defense.
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13          31.     No substantive proceedings have been held in the State Court in this matter. Copies
                                              Las Vegas, Nevada 89123
                                                  (702) 362-66666




                                                                             14   of all filed documents in the State Court Action are attached as follows:

                                                                             15            EXHIBIT NO.               DOCUMENT NAME
                                                                             16    Exhibit A                         Complaint and Demand for Jury Trial
                                                                             17    Exhibit B                         Waiver of Service of Summons
                                                                             18    Exhibit C                         Peremptory Challenge
                                                                             19    Exhibit D                         Notice of Department Reassignment
                                                                             20

                                                                             21           32.    The State Court Action was filed on March 30, 2023, thus one year has not elapsed
                                                                             22   from the date the action in State Court has commenced.
                                                                             23                               NOTICE OF INTERESTED PARTIES
                                                                             24          Pursuant to FRCP 7.1, a Certificate of Interested Parties is being filed concurrently with
                                                                             25   this Notice of Removal.
                                                                             26   ///
                                                                             27   ///
                                                                             28   ///


                                                                                                                                    8
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 9 of 10


                                                                              1          As required by 28 U.S.C. § 1446(d), Defendant is providing written notice of the filing of

                                                                              2   its Removal to Plaintiff and are filing copies of this Notice of Removal to the Clerk of the Eighth

                                                                              3   Judicial District Court of Clark County, Nevada.

                                                                              4            DATED this 25th day of May, 2023.

                                                                              5                                                      KRAVITZ SCHNITZER JOHNSON
                                                                                                                                     & WATSON, CHTD.
                                                                              6

                                                                              7                                                        /s/ L. Renee Green
                                                                                                                                     GARY E. SCHNITZER, ESQ.
                                                                              8                                                      Nevada Bar No. 395
                                                                                                                                     L. RENEE GREEN, ESQ.
                                                                              9                                                      Nevada Bar No. 12755
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                                                                                     8985 So. Eastern Avenue, Suite 200
                                                                             10                                                      Las Vegas, Nevada 89123
                                                                                                                                     Attorneys for Defendant
                                                                             11                                                      HANKINS PLASTIC SURGERY
                                                                                                                                     ASSOCIATES, P.C. dba HANKINS & SOHN
                                                                             12                                                      PLASTIC SURGERY ASSOCIATES
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13
                                              Las Vegas, Nevada 89123
                                                  (702) 362-66666




                                                                             14

                                                                             15

                                                                             16

                                                                             17

                                                                             18

                                                                             19
                                                                             20

                                                                             21

                                                                             22

                                                                             23

                                                                             24

                                                                             25

                                                                             26
                                                                             27

                                                                             28


                                                                                                                                  9
                                                                                  Case 2:23-cv-00824-RFB-DJA Document 1 Filed 05/25/23 Page 10 of 10


                                                                              1                                    CERTIFICATE OF SERVICE
                                                                              2          I HEREBY CERTIFY that on the 25th day of May, 2023, I served a true and correct copy

                                                                              3   of the foregoing DEFENDANT’S NOTICE OF REMOVAL was served via the United States
                                                                              4
                                                                                  District Court CM/ECF system to all parties or persons requiring notice:
                                                                              5
                                                                                         Mark J. Bourassa, Esq. (NBN 7999)
                                                                              6          Jennifer A. Fornetti, Esq. (NBN 7644)
                                                                                         Valerie S. Gray, Esq. (NBN 14716)
                                                                              7          THE BOURASSA LAW GROUP
                                                                                         2350 W. Charleston Blvd., Suite 100
                                                                              8          Las Vegas, Nevada 89102
                                                                                         Telephone: (702) 851-2180
                                                                              9          Facsimile: (702) 851-2189
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.




                                                                                         Email: mbourassa@blgwins.com
                                                                             10          jfornetti@blgwins.com
                                                                                         vgray@blgwins.com
                                                                             11
                                                                                         Gary F. Lynch (pro hac vice forthcoming)
                                                                             12          Nicholas A. Colella (pro hac vice forthcoming)
                                                                                         Patrick D. Donathen (pro hac vice forthcoming)
                                            8985 S. Eastern Ave., Ste. 200




                                                                             13
                                              Las Vegas, Nevada 89123




                                                                                         LYNCH CARPENTER LLP
                                                                                         1133 Penn Avenue, 5th Floor
                                                  (702) 362-66666




                                                                             14          Pittsburgh, Pennsylvania 15222
                                                                                         Telephone: (412) 322-9243
                                                                             15          Email: gary@lcllp.com
                                                                                         nickc@lcllp.com
                                                                             16          patrick@lcllp.com
                                                                             17          Attorneys for Plaintiff
                                                                             18                                                /s/ Cynthia Lowe
                                                                                                                              An Employee of
                                                                             19                                               KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD.
                                                                             20

                                                                             21

                                                                             22

                                                                             23

                                                                             24

                                                                             25

                                                                             26
                                                                             27

                                                                             28


                                                                                                                                 10
